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 8   Additional Parties and counsel listed on
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 9

10                                   UNITED STATES DISTRICT COURT
11                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                        MDL No. 3047
12
      IN RE: SOCIAL MEDIA ADOLESCENT
13    ADDICTION/PERSONAL INJURY PRODUCTS                Case No. 4:22-md-03047-YGR (PHK)
      LIABILITY LITIGATION
14                                                               4:23-cv-05448-YGR
      This Document Relates To:
15                                                      OMNIBUS STIPULATION REGARDING
      People of the State of California, et al. v. Meta SEALING JOINT LETTER BRIEF ON
16    Platforms, Inc., et al.                           META’S RESPONSE TO STATE
17                                                      ATTORNEYS GENERALS’ REQUEST
                                                        FOR PRODUCTION NUMBER 102
18
                                                                 Judge: Hon. Yvonne Gonzalez Rogers
19                                                               Magistrate Judge: Hon. Peter H. Kang
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       OMNIBUS STIPULATION REGARDING SEALING JOINT LETTER BRIEF ON META’S RESPONSE TO STATE ATTORNEYS GENERALS’
                                         REQUEST FOR PRODUCTION NUMBER 102
                                                    4:22-md-03047-YGR
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 1          Pursuant to Civil Local Rules 7-11 and 79-5 and this Court’s Order Setting Sealing Procedures
 2   (Dkt. 341), Plaintiffs and the Meta Defendants submit this Omnibus Stipulation to Seal in connection with
 3   the Parties’ Joint Letter Brief on Meta’s Response to State Attorneys Generals’ Request For Production
 4   Number 102 (Dkt. 1773) and Meta’s administrative motion to file under seal (Dkt. 1774).
 5          At this time, Plaintiffs do not oppose Meta’s request to seal the declarant’s name in Dkt. 1774-4
 6   and reserve all rights to challenge designations and sealing in the future. The Parties agree that the filings
 7   otherwise need not be maintained under seal. Accordingly, the Parties stipulate to the following chart:
 8    Filing             Portion to be Sealed              Basis for Sealing
      Declaration in     Declarant’s Name                  There is good cause to seal the declarant’s name to
 9    Support of Joint                                     protect their privacy interests at this time. See,
      Letter Brief on                                      e.g., Murphy v. Kavo Am. Corp., 2012 WL
10    Meta’s Response                                      1497489, at *1 (N.D. Cal. Apr. 27, 2012) (granting
      to State Attorneys                                   motion to seal “employee-identifying information”
11    Generals’ Request                                    because “[e]mployees and former employees who
      For Production                                       are not parties to this litigation have privacy
12    Number 102                                           interests in their personnel information, and in
      (ECF 1774-4)                                         other sensitive identifying information”) (Gonzalez
13                                                         Rogers, J.); see also, e.g., Am. Auto. Ass’n of N.
                                                           California, Nevada & Utah v. Gen. Motors LLC,
14                                                         2019 WL 1206748, at *2 (N.D. Cal. Mar. 14,
                                                           2019); Opperman v. Path, Inc., 2017 WL 1036652,
15                                                         at *4 (N.D. Cal. Mar. 17, 2017); Hunt v. Cont’l
                                                           Cas. Co., 2015 WL 5355398, at *2 (N.D. Cal.
16                                                         Sept. 14, 2015). Sealing this name is also
                                                           consistent with the approach the Court took in
17                                                         sealing names of Meta employees in the Personal
                                                           Injury Plaintiffs’ Master Complaint and the
18                                                         multistate Attorney General Complaint. See Dkt.
                                                           189; Case No. 4:23-cv-05448-YGR, Dkt. 77.
19                                                         Sealing this name is further warranted to protect
                                                           the employee’s safety, as explained in the
20                                                         accompanying Declaration of Andre Suite. Cf.
                                                           Campbell v. Grounds 2022 WL 14151744, at *1
21                                                         (N.D. Cal. Oct. 24, 2022) (sealing witness name
                                                           and finding standard met when disclosure “could
22                                                         put at risk the safety of one or more individuals if
                                                           made public”).
23
                                                           No party has previously sought to seal this
24                                                         information.
25          Pursuant to this case’s sealing procedures, a Proposed Order implementing this stipulation and a
26   copy of the joint letter brief and declaration with only the redactions listed above are attached.
27          IT IS SO STIPULATED AND AGREED.
28
      OMNIBUS MOTION REGARDING SEALING JOINT LETTER BRIEF ON META’S RESPONSE TO STATE ATTORNEYS GENERALS’ REQUEST
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                                        REQUEST FOR PRODUCTION NUMBER 102
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     OMNIBUS STIPULATION REGARDING SEALING JOINT LETTER BRIEF ON META’S RESPONSE TO STATE ATTORNEYS GENERALS’
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 1                                          FILER’S ATTESTATION
 2          Pursuant to Civil L.R. 5-1(i)(3), I, Ashley M. Simonsen, hereby attest that concurrence in the

 3   filing of this document has been obtained from each of the above signatories.

 4
     Dated: April 8, 2025                                                 By: /s/ Ashley M. Simonsen
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                                                                            Ashley M. Simonsen
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       OMNIBUS STIPULATION REGARDING SEALING JOINT LETTER BRIEF ON META’S RESPONSE TO STATE ATTORNEYS GENERALS’
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